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FILED

IN THE UNITED STATES DISTRICT COURT JUN 13 2023
FOR THE SOUTHERN DISTRICT OF IOWA _CLERKUSDISTRIGT COURT

UNITED STATES OF AMERICA,

Vv.

DONTAVIUS RASHAUN SHARKEY,
also known as, Dontavius Rashawn Sharkey, )
also known as, Dontavius Rashown Sharkey, )

Defendant.

THE GRAND JURY CHARGES:

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COUNT 1

SOUTHERN DISTRICT OF IOWA
Criminal No. 4:22-cr-176
SUPERSEDING INDICTMENT

18 U.S.C. § 922(g)(1)
18 U.S.C. § 922(k)
18 U.S.C. § 922(0)
18 U.S.C. § 924(a)(1)(B)
18 U.S.C. § 924(a)(2)
18 U.S.C. § 924(a)(8)
18 U.S.C. § 924(d)
18 U.S.C. § 932(b)(1)
18 U.S.C. § 932(0)(1)
18 U.S.C. § 934

26 U.S.C. § 5872

98 US.C. § 24610)

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(Felon in Possession of a Firearm and Ammunition)

On or about June 18, 2022, in the Southern District of lowa, the defendant,

DONTAVIUS RASHAUN SHARKEY, also known as, Dontavius Rashawn Sharkey,

also known as, Dontavius Rashown Sharkey, in and affecting commerce, knowingly

possessed a firearm and ammunition, namely,

one or more of the following:

1. a loaded Glock, model 26, nine-millimeter pistol, with serial number

AEUD879;

2. a loaded Glock, model 26, nine-millimeter pistol, with serial number

AEUD880;

3. Hight (8) cartridge cases of Federal nine-millimeter Luger ammunition; and
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4. Sixteen (16) cartridge cases of Winchester-Olin nine-millimeter Luger
ammunition.

At the time of the offense, the defendant knew he had been convicted of a crime
punishable by imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(2).

THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Straw Purchasing Conspiracy)

On or about July 26, 2022, in the Southern District of Iowa, the defendant,
DONTAVIUS RASHAUN SHARKEY, also known as, Dontavius Rashawn Sharkey,
also known as, Dontavius Rashown Sharkey, conspired with another person known
to the Grand Jury, to knowingly purchase a firearm, namely: a Glock, model 29 Gen 4,
ten-millimeter pistol, with serial number BWBX921, in or otherwise affecting
commerce for, on behalf of, or at the request or demand of DONTAVIUS RASHAUN
SHARKEY, knowing or having reasonable cause to believe that DONTAVIUS
RASHAUN SHARKEY had previously been convicted in any court of a crime
punishable by imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Section 932(b)(1) and

932(c)(1).
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THE GRAND JURY FURTHER CHARGES:

COUNT 3
(Felon in Possession of a Firearm)

On or about July 26, 2022, in the Southern District of Iowa, the defendant,
DONTAVIUS RASHAUN SHARKEY, also known as, Dontavius Rashawn Sharkey,
also known as, Dontavius Rashown Sharkey, in and affecting commerce, knowingly
possessed a firearm, namely: a Glock, model 29 Gen 4, ten-millimeter pistol, with
serial number BWBX921. At the time of the offense, the defendant knew he had been
convicted of a crime punishable by imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Sections 922(g)(1) and

924(a)(8).
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THE GRAND JURY FURTHER CHARGES:

COUNT 4
(Straw Purchasing Conspiracy)

On or about August 3, 2022, in the Southern District of Iowa, the defendant,
DONTAVIUS RASHAUN SHARKEY, also known as, Dontavius Rashawn Sharkey,
also known as, Dontavius Rashown Sharkey, conspired with another person known
to the Grand Jury, to knowingly purchase a firearm, namely: a Glock, model 45 Gen
5, nine-millimeter pistol, with serial number BUVR572; and a Glock, model 45, nine-
millimeter pistol, with serial number BWVM330, in or otherwise affecting commerce
for, on behalf of, or at the request or demand of DONTAVIUS RASHAUN SHARKEY,
knowing or having reasonable cause to believe that DONTAVIUS RASHAUN
SHARKEY had previously been convicted in any court of a crime punishable by
imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Section 932(b)(1) and

932(e)(1).
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THE GRAND JURY FURTHER CHARGES:

COUNT 5
(Straw Purchasing Conspiracy)

On or about August 15, 2022, in the Southern District of Iowa, the defendant,
DONTAVIUS RASHAUN SHARKEY, also known as, Dontavius Rashawn Sharkey,
also known as, Dontavius Rashown Sharkey, conspired with another person known
to the Grand Jury, to knowingly purchase a firearm, namely: a Glock, model 29 Gen 4,
ten-millimeter pistol, with serial number BXDX854, in or otherwise affecting
commerce for, on behalf of, or at the request or demand of DONTAVIUS RASHAUN
SHARKEY, knowing or having reasonable cause to believe that DONTAVIUS
RASHAUN SHARKEY had previously been convicted in any court of a crime
punishable by imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Section 932(b)(1) and

932(c)(1).
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THE GRAND JURY FURTHER CHARGES:

COUNT 6
(Felon in Possession of a Firearm)

From on or about August 15, 2022, to on or about November 2, 2022, in the
Southern District of lowa, the defendant, DONTAVIUS RASHAUN SHARKEY, also
known as, Dontavius Rashawn Sharkey, also known as, Dontavius Rashown
Sharkey, in and affecting commerce, knowingly possessed a firearm, namely: a loaded
Glock, model 29, ten-millimeter pistol, with serial number BXDX854. At the time of
the offense, the defendant knew he had been convicted of a crime punishable by
imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(8).

THE GRAND JURY FURTHER CHARGES:

COUNT 7
(Illegal Possession of a Machinegun)

On or about November 2, 2022, in the Southern District of lowa, the defendant,
DONTAVIUS RASHAUN SHARKEY, also known as, Dontavius Rashawn Sharkey,
also known as, Dontavius Rashown Sharkey, in and affecting commerce, knowingly
possessed a machinegun, namely: an automatic selector switch, affixed to a loaded
Glock, model 29, ten-millimeter pistol, with serial number BXDX854, when
recovered.

This is a violation of Title 18, United States Code, Sections 922(0) and

924(a)(2).
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THE GRAND JURY FURTHER CHARGES:

COUNT 8
(Possession of a Firearm with Obliterated Serial Number)

On or about November 2, 2022, in the Southern District of lowa, the defendant,
DONTAVIUS RASHAUN SHARKEY, also known as, Dontavius Rashawn Sharkey,
also known as, Dontavius Rashown Sharkey, knowingly possessed a firearm from
which the manufacturer’s serial number had been removed, altered, and obliterated,
namely: a loaded Glock, model 29, ten-millimeter pistol, with the serial number
removed, altered, and obliterated from the frame, with serial number BXDX854 on
the slide. The firearm had been shipped and transported in interstate and foreign
commerce.

This is a violation of Title 18, United States Code, Sections 922(k) and

924(a)(1)(B).
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THE GRAND JURY FINDS:
NOTICE OF FORFEITURE

Upon conviction for the offenses alleged in Counts 1, 2, 3, 6, 7, and/or 8 of this
Indictment, the defendant, DONTAVIUS RASHAUN SHARKEY, also known as,
Dontavius Rashawn Sharkey, also known as, Dontavius Rashown Sharkey, shall
forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d),
Title 26, United States Code, Section 5872, and Title 28, United States Code, Section
2461(c), all firearms, magazines, firearm parts, and ammunition involved in the
commission of said offenses, including, but not limited to, the firearms, firearm parts,
and ammunition identified in Counts 1, 2, 3, 6, 7 and 8 of this Indictment.

This is pursuant to Title 18, United States Code, Section 924(d), Title 26,

United States Code, Section 5872, and Title 28, United States Code, Section 2461(c).
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THE GRAND JURY FURTHER FINDS:
NOTICE OF FORFEITURE

Upon conviction for the offense(s) alleged in Counts 2, 4, and/or 5 of this
Indictment, the defendant, DONTAVIUS RASHAUN SHARKEY, also known as,
Dontavius Rashawn Sharkey, also known as, Dontavius Rashown Sharkey, shall
forfeit to the United States, pursuant to Title 18, United States Code, Sections 924(d)
and 934 and Title 28, United States Code, Section 2461(c), all firearms, magazines,
and ammunition involved in the commission of said offenses, including, but not
limited to, the firearms and ammunition identified in Counts 2, 4, and/or 5 of this
Indictment.

This is pursuant to Title 18, United States Code, Sections 924(d) and 934 and
Title 28, United States Code, Section 2461(c).

A TRUE BILL.

 

EQREPERSON

Richard D. Westphal
United States Attorney

By: KM La

Kristin M. Herrera
Assistant United States Attorney

 
